Case 6:18-cv-01944-JA-TBS Document 10 Filed 11/19/18 Page 1 of 4 PageID 76




               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION



 OSCAR INSURANCE COMPANY
 OF FLORIDA,
                                                       CASE NO.: 6:18-cv-1944
                      Plaintiff,

 vs.

 BLUE CROSS AND BLUE SHIELD OF
 FLORIDA, INC., d/b/a Florida Blue; HEALTH
 OPTIONS INC., d/b/a Florida Blue HMO; and
 FLORIDA HEALTH CARE PLAN INC., d/b/a
 Florida Health Care Plans,

                      Defendants.

 _________________________________________/

              NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

 ____ IS           related to pending or closed civil or criminal case(s)
 previously filed in this Court, or any other Federal or State court, or
 administrative agency as indicated below:

   X IS NOT related to any pending or closed civil or criminal case filed
 with this Court, or any other Federal or State court, or administrative
 agency.




                                         1
Case 6:18-cv-01944-JA-TBS Document 10 Filed 11/19/18 Page 2 of 4 PageID 77




 I further certify that I will serve a copy of this Notice of Pendency of Other
 Actions upon each party no later than fourteen days after appearance of the
 party.
 Dated: November 19, 2018               Respectfully submitted,


                                        /s/ Francis M. McDonald, Jr.
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                                       2
Case 6:18-cv-01944-JA-TBS Document 10 Filed 11/19/18 Page 3 of 4 PageID 78




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                                    3
Case 6:18-cv-01944-JA-TBS Document 10 Filed 11/19/18 Page 4 of 4 PageID 79




                             CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of November, 2018, the foregoing was filed

 electronically via the Court’s CM/ECF Filing System. I further certify that I caused the

 following parties to be served by hand:

 Blue Cross Blue Shield of Florida, Inc.
 4800 Deerwood Campus Parkway
 Jacksonville, FL 32246

 Health Options Inc.
 4800 Deerwood Campus Parkway
 Jacksonville, FL 32246

 Florida Health Care Plan Inc.
 1340 Ridgewood Avenue
 Holly Hill, FL 32117


                                                            /s/ Francis M. McDonald, Jr.
                                                                Francis M. McDonald, Jr.
                                                                     Counsel for Plaintiff
                                                    Oscar Insurance Company of Florida




                                            4
